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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA                             JS-6
                                  CIVIL MINUTES – GENERAL

 Case No.       SACV 16-00699-CJC (JCGx)                         Date      July 27, 2016
 Title          Jonathan Booth v. Fedchex Recovery LLC et al



PRESENT:

            HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

         Melissa Kunig                                          Not Reported
         Deputy Clerk                                           Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                  ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                           None Present

PROCEEDINGS:          (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
                      PROSECUTION FOR FAILURE TO COMPLY WITH THE COURT’S
                      ORDER



       This action was filed on April 13, 2016. On July 21, 2016, the Court issued a minute
order which ordered Plaintiff to show cause in writing on or before July 25, 2016 why this action
should not be dismissed for lack of prosecution. Plaintiff has failed to respond to the Court's
Order. Therefore, the Court ORDERS that this action is dismissed without prejudice for lack of
prosecution and for failure to comply with the Orders of the Court.

      The Court further orders the Order to Show Cause [8] issued on July 21, 2016
discharged.


                                                                                 -    :       -
                                                Initials of Deputy Clerk   mku
cc:




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